_ UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
BERTRAM BROWNE, ESTHER BROWNE, No -C - 17 LZ lp
KRYSTANA BROWNE; CRYSTAL BROWNE, Index No.:
and STEVE ALEXANDER,
Plaintiffs, COMPLAINT
-against-

Jury Trial Demanded
NEW YORK CITY POLICE DEPARTMENT,
JOHN and JANE DOES, individually and in their
official capacity, Police Officers of the NYPD,
the identity and number of whom is presently unknown,

Defendants.
x

 

Plaintiffs, Bertram Browne, Esther Browne, Krystana Browne, Crystal Browne, and
Steve Alexander, by and through their attorney, as and for their complaint allege as to themselves
and otherwise upon information and belief, as follows:
PRELIMINARY STATEMENT
1. This civil rights action is for damages as a result of the physical assault of the
plaintiffs and subsequent arrest of the plaintiffs in violation of law.
PARTIES
2. Bertram Browne is an individual residing in Brooklyn, New York.
3. Esther Browne is an individual residing in Brooklyn, New York.
4. Krystana Browne is an individual residing in Brooklyn, New York.
5. Crystal Browne is an individual residing in Brooklyn, New York.

6. Steve Alexander is an individual residing in Los Angeles, California.
10.

11.

12.

Defendant New York City Police Department (NYPD) is a department or agency of
the City of New York, a municipal corporation duly incorporated and existing
pursuant to the laws of the State of New York.
Defendants John and Jane Does are New York City Police Officers in the employ of
the NYPD who committed the acts complained of by the plaintiffs, the number of
whom are presently unknown.

JURISDICTION
This action is brought pursuant to 42 U.S.C. § 1983. The jurisdiction of the Court is
invoked pursuant to 28 U.S.C, § 1331.
Venue is proper in the United States District Court for the Eastern District of New
York under 28 U.S.C. § 1391(b)(2) because the events and omissions giving rise to
the claims in this action occurred in this District.

FACTS

On April 5, 2013, plaintiffs Bertram Browne, Esther Browne, Krystana Browne,
Crystal Browne were home at 1556 Saint Marks Avenue.
At around 06:00 (6 o’clock in the morning), defendants, officers of the New York
City Police Department (NYPD), while acting in their individual and official
capacities, broke into that location and accosted and seized the plaintiffs, physically
restrained them at gunpoint, ransacked their home, arrested them, transported them to

the precinct and held them for prosecution.
13. During this time, plaintiff Steve Alexander arrived at 1556 Saint Marks Avenue and
was accosted and seized by the defendants, physically restrained by them at gunpoint,
arrest, and transported to the precinct for prosecution.

14. Before being transported to the precinct, plaintiffs were physically searched.

15. These actions of the police officers were at all times directed and supervised by the
New York City Police Department.

16. Upon information and belief, supervisors of the NYPD, in their official capacities,
ordered, supervised, and approved the arrest and detention of the plaintiffs.

17. Plaintiff Alexander was released later that night after spending several hours in the
precinct.

18. Plaintiffs Bertram, Esther, Krystana and Crystal were held until April 6, 2013, when
they were released.

19. On April 10, 2013, plaintiffs were informed the cases against them would be
dismissed.

CAUSES OF ACTION

20. As a direct result of the acts and omissions of the defendants specified above, the
plaintiffs were deprived of their rights under the Fourth Amendment to the U.S.
Constitution.

21. Asa direct result of the acts and omissions of the defendants specified above, the
plaintiffs were deprived of their rights under the Fifth Amendment to the U.S.

Constitution
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Dated:

22. As a direct result of the acts and omissions of the defendants specified above, the

plaintiffs were deprived of their rights under the Fourteenth Amendment to the U.S.

Constitution

23. As a direct result of the acts and omissions of the defendants specified above, the

plaintiffs were deprived of their rights in violation of 42 U.S.C. § 1983.

REQUESTS FOR RELIEF

WHEREFORE, the plaintiffs respectfully request that the Court:

A.

B.

H.

L

Assume jurisdiction over this matter;

Declare that Defendants action violated plaintiffs rights under the Fourth Amendment
of the U.S. Constitution.

Fifth Amendment of the U.S. Constitution

Fourteenth Amendment of the U.S. Constitution

protected by 42 U.S.C. § 1983;

Award compensatory damages;

. Award punitive damages;

Award reasonable attorneys fees and costs;

Grant any other relief the Court deems necessary and proper.

Brooklyn, New York

April 6, 2016

 

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